Case 15-10016 Doc 60 Filed 05/15/15 Entered 05/15/15 09:18:36 Page 1 of 2

ATTACHMENT IV
PROCEEDING MEMO AND MINUTES OF
THE CHAPTER 7 §341 MEETING
DATE: 05/14/15 03:00pm
IN RE:
HESS, RYAN L CASE NO. 15-10016B

APP ARANCESZ
( DEBTOR l
( X'Required picture I.D. produced

( /fRequired SSN verification produced
( /fPay advices received

) DEBTOR 2 (Wit`e in Joint Cases)
) Required picture I.D. produced
) Required SSN verification produced

/_\/_\/_\r°'\

) Pay advices received
Abuse / No Abuse designation is ( ) accurate ( ) inaccurate

because

 

 

Credit counseling certificate ( /{ filed ( ) not filed
Tax returns received for (years) on

 

Financial Docurnents Were ( ) retained by trustee ( ) returned to debtor(s)
( ) DEBTOR’S REPRESENTATIVE
( /{ATTORNEY FOR DEBTOR(S): WILLIAM G. CHERBONI\IIER1 JR.
( ) DEBTOR(S) APPEARED PRO SE

YES ( ]NO ( ) If Pro Se, did anyone assist with preparation?

YES ( ) NO ( ) If Yes, obtain completed pro se fonn.

THE MEET G oF cREDiroRs WAS;
( ) HELD
OI'
( ) Nor HELD
Ol`
( ) Nor CoNCLUDED AND ls CoNrrNUED To THE DAY oF , 20_ AT
o’CLoCK _.M.

 

YES ( X ) NO ( ) Attorney for debtor has filed statement of compensation pursuant to 1 l U S. C. §329.
CREDITOR($) gave a 747{¢/@1(¢ c/

 

 

DEBTOR(s) REQUIRED TO:
( ) AMEND Schedules and Statements Within Days of 341(a) Meeting.
(>a) OTHER: 1112 2015 a w mw wa'ZTw./e.
In accordance with Rule 6007, FRBP, the trustee announced an intention to abandon any interest in:
12085 Hi,<zhwav 1 1, Belle Chasse1 LA, 1 16 Upsilon Street. Belle Chasse_ LA; 2007 Chevrolet Suburban,
2012 Chevrolet 1500 Pickup Truck.

ADDITIONAL NOTES: .CQq/w'z€l£;m/z rz¢Za€, owe é'cwpg»m,eo d- ('/%6{1/14' §

 

DATED; 05/14/15 TRusTEE (,Z/WQW /'/
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Case 15-10016 Doc 60 Filed 05/15/15 Entered 05/15/15 09:18:36 Page 2 of 2

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